                   Case 3:21-cv-01015-JR         Document 6   Filed 09/28/21   Page 1 of 1
                                          UNITED STATES DISTRICT COURT
                                               DISTRICT OF OREGON
                                               PORTLAND DIVISION

RONALD F. GREENSPAN in his capacity as
COURT-APPOINTED RECEIVER for the
RECEIVERSHIP ENTITY, including                                     Case No. 3:21-cv-1015-HZ
AEQUITAS CAPITAL MANAGEMENT, INC.,
an Oregon Corp,                                                    AFFIDAVIT OF SERVICE

                Plaintiff,
      vs.
WILLIAM CORBETT, an individual; and JOHN
DOES 1-10,
                Defendant.

STATE OF CALIFORNIA
COUNTY OF MONTEREY                               ss.

I, John DiCarlo, being first duly sworn, depose and say that I am a competent person 18 years of age
or older, a resident of the STATE OF CALIFORNIA and that I am not a party to nor an attorney for
any party in the within named action; that I made service of a true copy of:
 Summons in a Civil Case and Complaint; Civil Case Assignment Order; Discovery and Pretrial
Scheduling Order; Discovery Agreement; Magistrate Consent Form; Civil Case Management Time
                         Schedules; Notice of Judicial Reassignment
Upon WTTT JAM CORBETT, by delivering such true copy at the dwelling house or usual place of
abode of WILLIAM CORBETT, to-wit: 1579 Griffin Road, Pebble Beach, CA 93953-3502, to Mary
Corbett, who is a person 14 years of age or older residing in the dwelling house or usual place of
abode of William Corbett on September 08, 2021 at 7:00 PM.
I declare under the penalty of perjury that the above statement is true and correct.

SUBSCRIBED AND SWORN BEFORE ME
this      day of S(LO\'(?^\o5^ .                        X
by John DiCaiio.                                               iCarlo, Reg. #33, Monterey County
                                                        J.
                                                         ationwide Process Service, Inc.
                                                        1201 S.W. 12th Avenue, Suite 300
Notary Pkblic                                           Portland, OR 97205
                                                        503-241-0636

                       K. SIGALA           k
            ^ Notary Public • California
  iW                                      I
                                                              lllllllllllllllllllllllllllllllllllll
                    Monterey County
                  Commission # 23A4697
            ^ My Comm. Expires Feb 1, 2025
                                          l                                #355170*
